Case 1-22-11787-rmb        Doc 48    Filed 10/26/23 Entered 10/26/23 14:53:34              Desc Main
                                    Document      Page 1 of 1


 THIS ORDER IS SIGNED AND ENTERED.

 Dated: October 26, 2023




                                                      Hon. Rachel M. Blise
                                                      United States Bankruptcy Judge
                         UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

  In re:
                                                          Case No. 22-11787-rmb
     Gary L Peterson and Betty L Peterson,
                                                          Chapter 13
                         Debtors.


                 ORDER SETTING HEARING ON PLAN CONFIRMATION


         The debtors filed an amended chapter 13 plan on July 20, 2023. On August 9, 2023,
 creditor State Bank Financial, which has a security interest in the debtors’ real property, filed an
 objection to confirmation of the amended plan. (ECF No. 40.) On August 31, 2023, the Court
 sustained the creditor’s objection to confirmation, and ordered the debtors to file a further
 amended plan on or before October 2, 2023. (ECF No. 42.) On September 29, the debtors filed
 an amended plan (EFC No. 45), which the trustee has recommended for confirmation. (ECF No.
 46.)

        The amended plan clarifies that the balloon payment to State Bank Financial will be
 made in the 60th month of the plan. However, pursuant to 11 U.S.C. § 1323(c), the creditor is
 deemed to have rejected the amended plan because the creditor has not withdrawn its objection.
 Therefore, the Court is unable to confirm the amended plan under § 1325(a)(5).

         Accordingly, IT IS HEREBY ORDERED that a hearing on plan confirmation will be
 held by telephone before Rachel M. Blise, United States Bankruptcy Judge, on November 16,
 2023, at 1:00 p.m. To appear by telephone, you must call the Court conference line at (888)
 808-6929 and enter access code 4896101 before the scheduled hearing time. The Court may
 cancel the hearing if State Bank Financial withdraws its objection to confirmation.

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